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AO 245B (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet I



                                           UNITED STATES DISTRICT COURT
                                                         Middle District of Pennsylvania
                                                                           )
              UNlTED STATES OF AMERICA                                     )       JUDGMENT IN A CRIMINAL CASE
                                   V.                                      )
                        BRENDA CRUISE                                      )
                                                                           )       Case Number: 3:19-CR-158
                                                                           )       USM Number: 76737-067
                                                                           )
                                                                           )        Joseph D'Andrea, Esq.
                                                                           )       Defendant's Attorney
THE DEFENDANT:
~ pleaded gui lty to count(s)           One 1
D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not gui lty.

The defendant is adjudicated gui lty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended
18 U.S.C. § 371                    Conspiracy to Provide and Possess Contraband                             2/13/2019                1
                                   (Schedule I and II Controlled Substances) in Prison



       The defendant is sentenced as provided in pages 2 through          _ _7_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
D Count(s)
               - - - - - - - - - - - - - Dis                      Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                          2/17/2021




                                                                                         Malachy E. Mannion, U.S. District Judge
                                                                         Name and Title of Judge




                                                                         Date
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AO 245B (Rev. 09/ 19) Judgment in Criminal Case
                      Sheet 2 - Imprisonment

                                                                                                    Judgment - Page       2   of   7
DEFENDANT: BRENDA CRUISE
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                                                              IMPRISONMENT

          The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of:
 Twelve (12) Months and One (1) Day.




      !ti The court makes the following recommendations to the Bureau of Prisons:
           that the defendant be placed in a camp facility and if possible proximal to her family in Northeastern PA.




      0 The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
           D at                                     D a.m .    D p.m.     on

           D as notified by the United States Marshal.

      !ti The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          @ before 2 p.m. on            3/12/2021
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                        to

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL


                                                                         By
                                                                                             DEPUTY UNITED STATES MARSHAL
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AO 2458 (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 3 - Supervised Release
                                                                                                          Judgment- Page _J__ of _ __.:_
                                                                                                                                    ? __

DEFENDANT: BRENDA CRUISE
CASE NUMBER: 3:19-CR-158
                                                        SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

     Two (2) years.




                                                       MANDATORY CONDITIONS
I.      You must not commit another federal , state or local crime.
2.      You must not unlawfully possess a controlled substance.
3.      You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days of release from
        imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                D The above drug testing condition is suspended, based on the court's determination that you
                    pose a low risk of future substance abuse. (check ifapplicable)
4.       D You must make restitution in accordance w ith 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
            restitution . (check if applicable)
5.       ~ You must cooperate in the collection of DNA as directed by the probation officer. (checkifapplicable)
6.       D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S .C. § 20901, et seq.) as
            directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
            reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.       D You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 3A - Supervised Release
                                                                                              Judgment- Page   - - ~ -- of - - ~ - - -
DEFENDANT: BRENDA CRUISE
CASE NUMBER: 3:19-CR-158

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
     release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
     frame .
2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
     when you must report to the probation officer, and you must report to the probation officer as instructed.
3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
     court or the probation officer.
4.   You must answer truthfully the questions asked by your probation officer.
5.   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
     the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
     hours of becoming aware of a change or expected change.
6.   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
     take any items prohibited by the conditions of your supervision that he or she observes in plain view .
7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
     doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
     you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
     responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
     days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
     aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
     convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
     probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours .
I 0. You must not own, possess, or have access to a firearm , ammunition, destructive device, or dangerous weapon (i .e., anything that was
     designed , or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers) .
11 . You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
     first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
     require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
     person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.
14. You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,
     fines or special assessments .

U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                   Date
                                                                                                               ------------
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AO 245 B (Rev. 09/ 19)   Judgment in a Criminal Case
                         Sheet 3B - Supervised Release
                                                                                              Judgment- Page ____5__ of
DEFENDANT: BRENDA CRUISE
CASE NUMBER: 3:19-CR-158

                                        ADDITIONAL SUPERVISED RELEASE TERMS
 You must not unlawfully possess a controlled substance;

 You must submit to substance abuse testing to determine if you have used a prohibited substance. You must not attempt
 to obstruct or tamper with the testing methods; and

 You must participate in an inpatient/outpatient substance abuse treatment program and follow the rules and regulations of
 that program . The probation officer will supervise your participation in the program (provider, location, modality, duration ,
 intensity, etc.) which could include an evaluation and completion of any recommended treatment.
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AO 245B (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 5 - Criminal Monetary_Penalties
                                                                                                          Judgment - Page --'6,,___   of     7
 DEFENDANT: BRENDA CRUISE
 CASE NUMBER: 3:19-CR-158
                                                  CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment               Restitution                                     AV AA Assessment*             JVTA Assessment* *
 TOTALS            $    100.00               $                          $                    $                             $



 0    The determination ofrestitution is deferred until
                                                        -----
                                                              . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

0     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C . § 3664(1), all nonfederal victims must be paid
      before the United States is paid.

Name of Payee                                                    Total Loss***               Restitution Ordered          Priority or Percentage




TOTALS                                $                          0.00          $                       0.00
                                                                                   ----------

0     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to I 8 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the              D fine      D restitution.
      0    the interest requirement for the         D fine        D restitution is modified as follows:

* Amy, Vicky~ ~nd Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. I 15-299.
** Justice for victims of Trafficking Act of2015, Pub. L. No. I 14-22.
*** Findings for the total amount of losses are required under Chapters 109A, I 10, I JOA, and I 13A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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                        Judgment in a Criminal Case
                        Sheet 6 - Schedule of Payments

                                                                                                          Judgment - Page   - ~Z-   of
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                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant' s ability to pay, payment of the total criminal monetary penalties is due as follows :

 A     lli   Lump sum payment of$           100.00             due immediately, balance due


             •     not later than                                  , or
             •     in accordance with
                                          •    C,
                                                     •    D,
                                                               •    E, or    D F below; or
 B     •     Payment to begin immediately (may be combined with             • c,    D D, or      D F below); or

C      D Payment in equal            _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
                            (e .g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

 D     D Payment in equal          _ _ _ _ _ (e.g. , weekly, monthly, quarterly) installments of $ ____ over a period of
                           (e.g., months or years), to commence _ _ _ _ _ (e.g. , 30 or 60 days) after release from imprisonment to a
             term of supervision; or

E      D Payment during the term of supervised release will commence within _ _ _ _ _ (e.g. , 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant' s ability to pay at that time; or

F      Ill   Special instructions regarding the payment of criminal monetary penalties:
              IT IS ORDERED that the defendant shall pay to the Clerk, U.S. District Court, a special assessment of $100 on
              which is due immediately. THE COURT FINDS that the defendant does not have the ability to pay a fine.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons ' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D     Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                Joint and Several               Corresponding Payee,
      (including defendant number)                         Total Amount                    Amount                         if appropriate




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AV AA assessment,
(5) fine principal, (o) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
